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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   NORTHERN DIVISION



 UNITED STATES OF AMERICA,

               Plaintiff,                                  Case No. 2:14-cr-16-03

 v.                                                        HON. R. ALLAN EDGAR

 JOSHUA AARON ANDERSON,

            Defendants.
 _________________________________/


                                    ORDER OF DETENTION


               Defendant appeared before the undersigned on June 11, 2014, on a warrant and

indictment alleging one count of Conspiracy to Distribute and Possess with Intent to Distribute

Methamphetamine and two counts of Distribution of Methamphetamine in violation of 21 U.S.C. §

841(a). Defendant was advised that the government filed a motion for detention and that the

defendant had the right to a detention hearing. Defendant was further advised that he could consult

with his attorney before deciding whether or not to request a hearing. Accordingly, IT IS HEREBY

ORDERED that the defendant will be detained pending further proceedings.

               IT IS SO ORDERED.

Date: June 13, 2014                                          /s/ Timothy P. Greeley
                                                            TIMOTHY P. GREELEY
                                                            United States Magistrate Judge
